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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 ROBERT DUNHAM, TIMOTHY                        §
 LERETTE, AND LONNIE                           §
 ROBERTS,                                      §
                                               §
          Plaintiffs,                          §
 v.                                            §
                                               §
 AMERICAN BUREAU OF                            §       CIVIL ACTION NO. 4:20-cv-
 SHIPPING; ABS GROUP OF                        §       00111
 COMPANIES, INC.; ABS QUALITY                  §
 EVALUATIONS, INC.; ABS                        §
 MARITIME SERVICES, INC.; AND                  §
 ABSG CONSULTING, INC.; AND                    §
 BOUCHARD TRANSPORTATION                       §
 CO., INC.,                                    §

          Defendants.

   DEFENDANT BOUCHARD TRANSPORTATION CO., INC.’S MOTION TO
     SHOW GOOD CAUSE FOR MEDICAL EXAMINATION OF LONNIE
    ROBERTS WITH ORTHOPEDIC SURGEON DR. CHARLES WATTERS

        Defendant, Bouchard Transportation Co., Inc., (“Bouchard”), pursuant to Federal

Rule of Civil Procedure 35, files this Motion to Show Good Cause for Medical Examination

of Plaintiff Lonnie Roberts (“Roberts”) and in support thereof states as follows:

  SHORT STATEMENT OF THE NATURE & STAGE OF THE PROCEEDING:

        This personal injury case arises from injuries suffered by Roberts on or about

October 20, 2017, while on Bouchard’s tug, the Buster Bouchard (“Tug”). The Plaintiffs

in this case – Roberts, Timothy Lerette (“Lerette”) and Robert Dunham (“Dunham”) -




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originally filed Petitions against Bouchard on January 26, 2018, in Nueces County, Texas,

Case No. 2017CCV-61972-4 (“Nueces County case”). Roberts filed a Notice of Non-Suit

in the Nueces County case on December 11, 2019, and an Order of Nonsuit was entered

on December 26, 2019. On December 4, 2019, Roberts filed his First Amended Petition

in Harris County, Texas, Case No. 2019-85459 (“Harris County case”). The Harris County

case was removed to this Court on January 10, 2020.

        The history of Bouchard’s efforts to obtain physical examinations of the Plaintiffs

in this case is long and well-documented. Bouchard first requested a physical examination

in the Nueces County case (“Examinations”) and filed Motions to Compel Examination of

each Plaintiff on July 26, 2019. After coordinating for the better part of a year, on

November 11, 2019, Bouchard scheduled Examinations of each Plaintiff between January

21 and January 24, 2020. On November 22, 2019, Bouchard requested confirmation of the

Examinations in the Nueces County case. Plaintiff’s counsel was nonresponsive and

refused to confirm the scheduled IMEs.

        The Plaintiffs, including Roberts, failed to attend the scheduled Examination

between January 21 and January 24, 2020.

        Bouchard now moves this Court for an Order compelling Roberts to submit to a

physical examination under Fed.R.Civ.P. 35 on June 23, 2020, because Plaintiff has placed

his orthopedic physical condition at issue and in controversy.




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     STATEMENT OF THE FACTS NECESSARY TO RESOLVE THE MOTION

        1.       On or about April 28, 2020, Bouchard received a letter from Plaintiffs’

counsel requesting payment of $319,734.56 within five days to Kraus Back & Neck

Institute. The correspondence stated that Dr. Oishi plans to perform an anterior L4-5

lumbar discectomy and artificial disc placement on Plaintiff Lonnie Roberts. See Exhibit

A.

        2.       On May 5, 2020, Bouchard responded and requested the Examination of

Plaintiff Lonnie Roberts. See Exhibit B. As noted therein, Bouchard had requested the

Roberts’ Examination on thirteen separate occasions in 2019. Bouchard had previously

arranged for five physicians to examine Plaintiff Lonnie Roberts in Houston, Texas during

the week of January 20, 2020. Bouchard even agreed to pay travel and lodging costs for

Plaintiff Lonnie Roberts’ trip in connection with the IMEs. As noted above, Roberts’

counsel failed to respond and refused to confirm the scheduled Examinations.

        3.       On May 8, 2020, counsel for Bouchard called and emailed Plaintiff’s

counsel, requesting Examinations of each Plaintiff. See Exhibit C.

             4. Bouchard proposed and proposes the following parameters for the

     Examination by Dr. Watters of Plaintiff Lonnie Roberts:

                 1.     The exam will take place on June 23, 2020, in Houston, Texas.
                 2.    The location will be a neutral clinic or hospital setting that will
                 be selected and paid for by Defendant. The choice of the examination
                 location is at Defendant’s sole discretion.
                 3. The physical examinations by Dr. Watters will last no more than
                 two hours.



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                 4.    Counsel for Defendant is responsible for providing all records
                 to the doctor and Roberts is not required to bring anything to the exam
                 other than valid identification.
                 5. Roberts will answer questions relevant to his medical condition,
                 including any relevant pre-existing conditions, but will not discuss the
                 liability issues in the case.
                 6. No one is allowed in the examination room except the examining
                 doctor and the Plaintiff. The exams will not be videotaped.
                 7. No other doctor, therapist, third-party or other individual will have
                 access to the Plaintiff, other than the examining physician.
                 8. Defendant will reimburse within 30 days the reasonable travel
                 costs for Roberts to attend the medical exam, including coach
                 transportation and moderate hotel accommodations.
                 9. The examining doctor will prepare a report of his findings within
                 30 days of the completion of the examination.
                 10. The doctor will retain all handwritten notes and maintain all
                 documents generated as a result of the examination.
        5.       On May 11, 2020, Roberts’ counsel responded to Bouchard’s examination

request by denying access to Lonnie Roberts, and instead reiterated his demand for

immediate payment for the surgery. See Exhibit D.

        6.       Bouchard followed-up with Plaintiff’s counsel on May 14, 2020, by e-mail,

certifying that Bouchard had attempted to confer and resolve the matter without court

intervention. See Exhibit E.

        7.       On June 5, 2020, Bouchard again requested the medical examination of

Roberts. See Exhibit F.




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              STATEMENT OF THE ISSUES REQUIRING RESOLUTION

        8.       Plaintiffs, specifically including Roberts for the purpose of this motion, have

failed to respond to Bouchard’s requests for medical examinations.

        9.       Dr. Charles Watters is available to examine Roberts on June 23, 2020. The

purpose of the examination includes the determination, among other things, whether

Roberts does indeed need the surgery recommended by Dr. Oishi.

        10.      Bouchard respectfully requests this Court enter an Order compelling Roberts

to attend the physical examination on June 23, 2020 with Dr. Watters, under the parameters

set forth above.

        11.      Accordingly, for the reasons set forth more fully herein, Bouchard

respectfully requests this Honorable Court enter an Order requiring Plaintiff to attend the

compulsory examination as set forth above.

                                 I.       AUTHORITY & ARGUMENT

              A. Bouchard Is Entitled To Have The Plaintiff Examined

        Federal Rule of Civil Procedure 35 states “[t]he court where the action is pending

may order a party whose mental or physical condition… is in controversy to submit to a

physical or mental examination by a suitably licensed or certified examiner. The court has

the same authority to order a party to produce for examination a person who is in its custody

or under its legal control . . . The order: (A) may be made only on motion for good cause

and on notice to all parties and the person to be examined; and (B) must specify the time,




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place, manner, conditions, and scope of the examination, as well as the person or persons

who will perform it.” See Fed. R. Civ. P. 35(a)(1)-(2).

        [O] ne of the purposes in granting a Rule 35 request is to "preserve the equal
        footing of the parties to evaluate the plaintiff's [physical or mental condition]
        . . . ." Shadix-Marasco, 2011 U.S. Dist. LEXIS 54559, 2011 WL 2011483,
        at *3 (quoting Duncan, 155 F.R.D. at 25); see also Ragge v. MCA/Universal
        Studios, 165 F.R.D. 605, 608 (C.D. Cal. 1995) ("One of the purposes of Rule
        35 is to 'level the playing field' between parties in cases in which a party's
        physical or mental condition is in issue."). The Court notes that this is an
        adversarial process, and "the purpose of a retained expert is to advocate
        within reasonable grounds on behalf of the person for whom retained."
        Minnard, 2008 U.S. Dist. LEXIS 6149, 2008 WL 150502, at *2. As stated
        by Minnard, it is highly unlikely that a retained expert will "simply be
        parroting the facts of [a previous] examination." Id. Consequently, any
        perceived independent operation of Rules 26 and 35 seems to fade "where
        the Rule 35 examination request . . . is initiated for the purpose of providing
        expert testimony at trial . . . ." Perez v. Veins II, 2011 U.S. Dist. LEXIS
        23991, 2011 WL 855673, at *3 (D. Neb. Mar. 8, 2011).

Diaz v. Con-Way Truckload, Inc., 279 F.R.D. 412, 419, (S.D. Tex. 2012).

        Bouchard is entitled to have the Plaintiff examined by Dr. Watters. Dr. Watters is

clearly qualified to examine Roberts. He is a board certified orthopedic surgeon, suitably

licensed and certified. See the curriculum vitae of Dr. Watters, attached as Exhibit G. The

Plaintiff alleges injuries to his neck and back which are orthopedic in nature and has also

demanded that Bouchard pay almost $320,000 for a back surgery as part of Bouchard’s

cure obligations to Roberts. Further, Roberts’ alleged damages include past and future

medical expenses, impairment, and disfigurement related to those alleged orthopedic

injuries. See Plaintiffs’ Amended Petition at IX, Prayer. Accordingly, Roberts’ physical

condition is in controversy.




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         Roberts alleges that he was injured on or about October 20, 2017, when he fell

down the staircase while going down to the lower wheelhouse on Bouchard’s tug the Buster

Bouchard. See Exhibit H, Deposition of Lonnie Roberts, taken on March 5, 2019, at pages

177, 240 and 241. On October 25, 2017, Roberts was examined at Northwest Diagnostic

Clinic where he had complaints of back pain, stress and tearfulness. Roberts’ treatment

continued November 17, 2017, when he saw a chiropractor with shoulder pain. See Exhibit

I. On April 2, 2018, he underwent shoulder surgery. See Exhibit J

        In order to determine the extent of Roberts’ alleged injuries, including whether the

proposed surgery is indeed necessary and causally related to this accident, Bouchard now

moves the Court to compel Roberts to attend the proposed physical examination of the spine

by Dr. Watters.

        As noted above, for the better part of a year, Bouchard has requested and then moved

to compel each Plaintiff’s medical and psychiatric examinations. Although Bouchard has

not addressed its requests for examinations of Lerette and Dunham in this motion,

Bouchard re-urges its previous requests and may again be forced to seek the Court’s

intervention if Lerette and Dunham will not agree to the examinations. Bouchard does not

waive its right to seek additional physical examinations of Roberts or any other Plaintiff.

This motion is the first filed because of Roberts’ claim for an exigent need for surgery.

        Dr. Watters’ protocol for examination will include but will not be limited to range

of motion tests on Roberts’ hips, knees, ankles, shoulders, neck, elbows and wrist.

Palpation of peripheral pulses for vascular examination, motor testing, sensory testing and



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reflex testing of Plaintiff’s complaints of any and all injuries and/or aggravations alleged.

Dr. Watters will request Roberts fill-in in-take forms pertaining to his medical condition

and medical history.

            B. Only Roberts and Dr. Watters May Attend the Examination.

        Rule 35 is silent about who may attend a compulsory examination and about the

procedures associated with the examination. Courts in this District have found that physical

examinations under Rule 35 are subject to the general provisions of Rule 26(c) and the

Plaintiff has the burden to show that third parties should be allowed in the examination

room:

        the party seeking the presence of a third party at a Rule 35 examination still
        sustains the burden of convincing the court that good cause exists for a
        protective order and that such a third-party presence is necessary. Calderon v.
        Reederei Claus-Peter Offen GmbH & Co., 258 F.R.D. 523, 526 (S.D. Fla.
        2009). In this context, "broad allegations of harm unsubstantiated by specific
        examples" does not suffice to meet the Rule 26(c) test. Bridges, 850 F.Supp.
        at 223. Rather, the inquiry becomes whether "special circumstances are
        present which call for a protective order tailored to the specific problems
        presented." Calderon, 258 F.R.D. at 526.

Ornelas v. Southern Tire Mart, LLC, 292 F.R.D. 388, 395, 2013 U.S. Dist. LEXIS 53164,

*19-20 (S.D. Tex. 2013). The recording of examinations is a similar request as attendance,

and requires that plaintiff demonstrate a special circumstance for a third party’s presence.

Casmier v. Cincinnati Ins. Co., 2017 U.S. Dist. LEXIS 212217, *6-7 (E.D. La. 2017). In

this case, Roberts has not yet shown that good cause exists for any person to attend the

proposed examination other than Roberts and Dr. Watters.




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                                               CONCLUSION

        WHEREFORE, Plaintiff Lonnie Roberts’ physical condition is at issue in this

matter and Bouchard has shown good cause for the Court to compel Plaintiff to attend the

requested examination under Rule 35. Bouchard moves the Court for an Order compelling

Roberts’ appearance and attendance at a physical examination with Dr. Charles Watters on

June 23, 2020, within the parameters contained in the accompanying proposed Order.

                   CERTIFICATION OF GOOD FAITH CONFERENCE

        The undersigned certify that they have attempted to confer with counsel for

Plaintiffs before filing this Motion, and Plaintiffs’ counsel has failed to provide any

response. The Plaintiff has not agreed to a date and time for the CMEs with Dr. Watters,

prior to the filing of the instant Motion.

        WHEREFORE, Bouchard respectfully requests this Court grant this motion, enter

an Order compelling Roberts’ attendance at the physical examination requested herein and

that the Court grant any other relief it deems appropriate.

                                                 Respectfully submitted,

                                                 CLARK HILL PLC

                                                 /s/ Bijan R. Siahatgar
                                                 BIJAN R. SIAHATGAR
                                                 Attorney-In-Charge
                                                 State Bar No. 18336200
                                                 SDTX No. 13796
                                                 bsiahatgar@clarkhill.com
                                                 909 Fannin Street, Suite 2300
                                                 Houston, Texas 77010


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                                               Phone: (713) 951-5666
                                               Fax: (713) 951-5660

Of Counsel:

HAMILTON, MILLER & BIRTHISEL, LLP
JERRY D. HAMILTON
Florida State Bar No. 970700
Admitted Pro Hac Vice
jhamilton@hamiltonmillerlaw.com
150 Southeast Second Avenue,
Suite 1200
Miami, Florida 33131
Phone: (305) 379-3686
Fax: (305) 379-3690


                                   CERTIFICATE OF SERVICE

       I hereby certify that on 10th day of June, 2020, that the foregoing document was
served on all known counsel of record via CM/ECF pursuant to the Federal Rules of Civil
Procedure. system of the Court.

                                                     /s/ Bijan R. Siahatgar
                                                     Bijan R. Siahatgar




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